     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 1 of 16 Page ID #:19213



 1    TRACY L. WILKISON
      Acting United States Attorney
 2    SCOTT M. GARRINGER
      Assistant United States Attorney
 3    Chief, Criminal Division
      ALEXANDER C.K. WYMAN (Cal. Bar No. 295339)
 4    Assistant United States Attorney
      Major Frauds Section
 5         1100 United States Courthouse
           312 North Spring Street
 6         Los Angeles, California 90012
           Telephone: (213) 894-2435
 7         Facsimile: (213) 894-6269
           Email:     Alex.Wyman@usdoj.gov
 8
      BRETT A. SAGEL (Cal. Bar No. 243918)
 9    Assistant United States Attorney
           Ronald Reagan Federal Building
10         411 West Fourth Street, Suite 8000
           Santa Ana, California 92701
11         Telephone: (714) 338-3598
           Facsimile: (714) 338-3708
12         Email:     Brett.Sagel@usdoj.gov

13    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
      UNITED STATES OF AMERICA,                No. SA CR 19-061-JVS
17
                 Plaintiff,                    GOVERNMENT’S MOTION IN LIMINE TO
18                                             EXCLUDE QUESTIONS AND REFERENCE TO
                       v.                      ANDREW STOLPER PURSUANT TO FRE
19                                             401, 402, AND 403; EXHIBIT
      MICHAEL JOHN AVENATTI,
20                                             Hearing Date: October 27, 2021
                 Defendant.                    Hearing Time: 8:30 AM
21                                             Location:     Courtroom of the
                                                             Hon. James V. Selna
22

23

24          Plaintiff United States of America, by and through its counsel
25    of record, the Acting United States Attorney for the Central District
26    of California and Assistant United States Attorneys Brett A. Sagel
27    and Alexander C.K. Wyman, hereby files its motion in limine to
28
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 2 of 16 Page ID #:19214



 1    exclude questions and reference to Andrew Stolper pursuant to Federal

 2    Rules of Evidence 401, 402, and/or 403.

 3          This motion is based upon the attached memorandum of points and

 4    authorities, the attached exhibit, the files and records in this

 5    case, and such further evidence and argument as the Court may permit.

 6          On September 28, 2021, government counsel contacted the defense

 7    to determine if they would stipulate to the relief sought herein.

 8    Defendant declined to stipulate and opposes this motion.

 9     Dated: September 29, 2021            Respectfully submitted,

10                                          TRACY L. WILKISON
                                            Acting United States Attorney
11
                                            SCOTT M. GARRINGER
12                                          Assistant United States Attorney
                                            Chief, Criminal Division
13

14                                                /s/
                                            BRETT A. SAGEL
15                                          ALEXANDER C.K. WYMAN
                                            Assistant United States Attorneys
16
                                            Attorneys for Plaintiff
17                                          UNITED STATES OF AMERICA
18

19

20

21

22

23

24

25

26

27

28

                                              2
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 3 of 16 Page ID #:19215



 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.      INTRODUCTION

 3            Defendant MICHAEL JOHN AVENATTI is charged with embezzling

 4    millions of dollars in settlement funds from his clients: Geoffrey

 5    Johnson, Alexis Gardner, Gregory Barela, Michelle Phan, and Long

 6    Tran.    Defendant is alleged in the Indictment to have executed a

 7    scheme to defraud his clients between January 2015 and March 2019 by,

 8    among other things, negotiating settlements on behalf of his clients,

 9    concealing the true nature of those settlements from his clients,

10    causing the settlement funds to be deposited into attorney-client

11    trust accounts he controlled, embezzling the client funds and

12    misappropriating them for his own personal use, and then lying to his

13    clients to lull them into believing their settlement funds were safe

14    and to prevent them from discovering his misappropriation.

15    (Indictment (CR 16) ¶¶ 6-7.)

16            The principal issues at trial will center on whether defendant

17    unlawfully misappropriated the settlement funds, whether defendant

18    made materially false representations or omitted material facts from

19    his clients, and whether defendant acted with intent to defraud.

20    Defendant repeatedly attempted in the first trial to place before the

21    jury irrelevant -- and factually incorrect -- information about

22    Andrew Stolper, a former federal prosecutor whom defendant hired

23    after Mr. Stolper left the U.S. Attorney’s Office.           Despite repeated

24    sustained objections and admonitions by the Court, defendant

25    continued to attempt to testify from the lectern without either a

26    good faith basis to ask the particular witness the question or any

27    basis in fact for the predicate of defendant’s questions.

28
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 4 of 16 Page ID #:19216



 1          The purported “facts” defendant sought to admit at the first

 2    trial regarding Mr. Stolper are not relevant in this criminal case as

 3    to whether defendant embezzled his clients’ settlement money.             Even

 4    if defendant were able to show evidence related to Mr. Stolper to

 5    have some marginal relevance, its limited probative value would be

 6    substantially outweighed by the risk of wasting time, confusing and

 7    misleading the jury, and unfair prejudice.          Pursuant to Federal Rules

 8    of Evidence 401, 402, and 403, the government respectfully moves to

 9    exclude questions, argument, and evidence related to Andrew Stolper

10    as they are not relevant and their admission will confuse the issues,

11    mislead the jury, waste time, and be unfairly prejudicial.

12    II.   ARGUMENT

13          A.    Background

14          On January 15, 2020, at the hearing to determine whether

15    defendant violated his conditions of release, defendant unequivocally

16    accused one of the government prosecutors of misconduct for having a

17    “close relationship” with Andrew Stolper, a former federal prosecutor

18    and attorney representing Jason Frank in collection proceedings

19    against defendant.     (RT 1/15/2020 at 14-15.)       The government

20    responded that the allegations were baseless and looked forward to

21    responding if defendant wanted to file a proper motion because there

22    was no support for defendant’s accusations other than defendant’s

23    bluster.    (Id. at 18-19.)     Despite claiming he would raise the

24    prosecutorial misconduct with the Court, defendant never did.

25          During the first trial, defendant attempted to claim through

26    examinations of witnesses the following: Andrew Stolper was forced

27    out of the U.S. Attorney’s Office for committing misconduct during

28    the Broadcom trial; defendant -- who hired Mr. Stolper to work for

                                              2
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 5 of 16 Page ID #:19217



 1    defendant’s firm after the misconduct findings -- fired Mr. Stolper

 2    purportedly for fraud; and that Mr. Stolper was the reason for the

 3    criminal prosecution of defendant based on his purported friendship

 4    with one of the prosecutors.       Each of defendant’s attempted

 5    assertions, in addition to being irrelevant, are demonstrably false.

 6          Even after the Court sustained objections to questions related

 7    to Mr. Stolper, defendant still asked the following objectionable

 8    questions about Mr. Stolper’s departure from the U.S. Attorney’s

 9    Office, which the Court sustained: “Andrew Stolper was an individual

10    who had been pushed out of the U.S. Attorney’s Office after

11    committing this conduct in a case and then subsequently fired by me;

12    isn’t that true?” (RT 7/29/2021, Vol. I, at 27); “Prior to

13    testifying, did you come to learn about the circumstances of Mr.

14    Stolper’s departure from the U.S. Attorney’s Office?” (id. at 28);

15    and “And at the time that you reviewed it, you knew that Mr. Stolper
16    was somebody who had been booted out of the U.S. Attorney’s Office
17    for prosecutorial misconduct and that he was a friend of Mr. Sagel’s,
18    didn’t you?” (RT 8/10/2021, Vol. II, at 16).1          In response to the
19    final sustained objection on August 10, 2021, the Court admonished

20    defendant: “I believe this is the second, perhaps the third time you

21    put that question to the witness.        I direct you to not put the same

22    question to any other witness.”        (Id. at 16-17.)     Despite the Court’s

23    directive, eight days later, defendant asked Special Agent Remoun

24    Karlous the following: “Mr. Stolper is a former prosecutor who had a

25

26          1Defendant asked this last question of Mark Horoupian,
      defendant’s bankruptcy counsel, after the Court had sustained
27    objections to questions attempting to ask who Andrew Stolper was, why
      Mr. Stolper signed a document in the exhibit, and whether defendant
28    fired Mr. Stolper and others for purportedly trying to steal from
      defendant. (RT 8/10/2021, Vol. II, at 14-16.)
                                         3
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 6 of 16 Page ID #:19218



 1    major criminal case thrown out because of his misconduct; isn’t that

 2    true?”    (RT 8/18/2021, Vol. I, at 69.)       The Court again sustained the

 3    government’s objection.      (Id.)   Defendant did not have any good faith

 4    basis to believe these witnesses had any foundational ability to

 5    answer the questions or that the factual assertions were even true at

 6    the first trial.

 7           The Honorable Cormac J. Carney, United States District Court

 8    Judge, issued his order dismissing the prosecution of the defendants

 9    in the Broadcom matter on December 15, 2009.          SA CR 08-139-CJC, Doc.

10    780.   As this Court is aware, Mr. Stolper continued working at the

11    U.S. Attorney’s Office for over three years after Judge Carney’s

12    ruling.   Mr. Stolper served as the government attorney in two jury

13    trials before this Court in April and August 2011 (United States v.

14    Francisco Rodriguez, SA CR 05-107-JVS), as well as in additional jury
15    trials in October 2011 and May 2012 in this Courthouse (United States
16    v. Karen Hanover, SA CR 11-47-JLS, and United States v. Victor
17    Victoria, SA CR 11-12-DOC).       Mr. Stolper appeared as the government’s
18    counsel of record before this Court until the beginning of 2013.
19    See, e.g., United States v. Wallace, SA CR 12-211-JVS; United States

20    v. Bilc et al., SA CR 11-297-JVS.        As the Court is aware, the entire

21    predicate of defendant’s questions in relation to Mr. Stolper’s

22    decision to leave is the U.S. Attorney’s Office is false.

23           Defendant asked questions of Ms. Regnier and others to attempt

24    establish that defendant fired Mr. Stolper and other attorneys for

25    purportedly committing fraud.        (See, e.g., RT 7/29/2021, Vol. I, at

26    26-27; RT 8/10/2021, Vol. II, at 14; RT 8/18/2021, Vol. I, at 70.)

27    Attached as Exhibit 1 is the May 23, 2016, severance agreement

28    between defendant and Mr. Stolper that undermines defendant’s

                                              4
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 7 of 16 Page ID #:19219



 1    newfound claim that he fired Mr. Stolper and the basis for the

 2    supposed termination.      Defendant agreed to pay Mr. Stolper $70,000

 3    after their agreed-upon separation date and requested that Mr.

 4    Stolper provide up to 150 hours of work and assistance to defendant’s

 5    firm on the Kimberly Clark and Halyard cases through August 2016.

 6    (Ex. 1.)    Again, defendant lacked any good faith basis to the

 7    underlying facts of his questions in his attempt to testify through

 8    his questioning.

 9          During his cross-examination of Agent Karlous, defendant

10    attempted again to testify (falsely) through his questioning about

11    the circumstances under which Mr. Stolper left the U.S. Attorney’s

12    Office and defendant’s law firm and then claim Mr. Stolper was the

13    reason for defendant being criminally prosecuted.           (See, e.g., RT

14    8/18/2021, Vol. I, at 69-83; RT 8/18/2021, Vol. II, at 60.)            Agent
15    Karlous, however, testified on cross-examination, as defendant is
16    fully aware based on the facts and discovery in this case, that Mr.
17    Stolper reaching out to the government had nothing to do with the
18    prosecution of defendant.       (RT 8/18/2021, Vol. II, at 43.)
19          A revenue officer with the Internal Revenue Service (“IRS”)

20    investigating the millions of dollars in unpaid payroll of

21    defendant’s coffee company referred the matter for criminal

22    investigation in 2017 based on the failure to pay the payroll taxes

23    and the numerous acts of obstruction the revenue officer noted in

24    which defendant appeared to engage.         The circumstances of the

25    criminal referral, and defendant’s conduct, are primarily captured in

26    Counts 11-18 of the indictment (the failure to pay the payroll taxes)

27    and Count 19 (defendant’s obstructing the administration of the IRS).

28    The revenue officer’s fraud referral also mentioned defendant not

                                              5
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 8 of 16 Page ID #:19220



 1    filing individual tax returns since 2011 and defendant failing to pay

 2    payroll taxes for his law firm as well.

 3          Defendant later called Special Agent James Kim as a witness to

 4    attempt to misleadingly establish that Mr. Stolper was a witness “in

 5    this case.”    Both Agent Karlous and Agent Kim testified that Mr.

 6    Stolper was not a witness in the government’s prosecution as it

 7    relates to the wire fraud counts.2        (RT 8/18/2021, Vol. II, at 74; RT

 8    8/19/2021, Vol. I, at 87-88.)       In response to defendant’s attempt to

 9    continue in this line of questioning, the Court found, “[i]t’s pretty

10    clear from the record that Mr. Stolper’s involvement as a witness is

11    not related to the proceeding before us.”         (Id. at 89; see also id.

12    at 90 (“it’s a fact that Mr. Stolper is not a witness in this part of
13    the case.”).)3
14          B.    Legal Standards
15          Evidence is relevant only if it tends “to make a fact more or
16    less probable than it would be without the evidence.”           Fed. R. Evid.
17    401; see also Fed. R. Evid. 402 (excluding irrelevant evidence).             And
18    even if evidence is marginally relevant, it can be excluded “if its
19    probative value is substantially outweighed by a danger of . . .

20    unfair prejudice, confusing the issues, misleading the jury, undue

21

22         2 In fact, Andrew Stolper is not and has never been a witness
      relating to any of the government’s charges and has only provided the
23    government with documents in his capacity as an attorney representing
      Jason Frank.
24
           3 Without any good faith basis, as none exists because it did
25    not happen, defendant claimed that the government used Mr. Stolper to
      ask defendant questions about Geoffrey Johnson in the March 22, 2019,
26    judgment debtor examination. (RT 8/19/2021, Vol. I, at 90.) As
      demonstrated by defendant’s own questions, the government did not
27    even meet with Mr. Stolper or Mr. Johnson until after defendant’s
      arrest on March 25, 2019, and there is not a single reference to Mr.
28    Johnson in the government’s 180-page complaint affidavit obtained on
      March 22, 2019 -- prior to the examination.
                                         6
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 9 of 16 Page ID #:19221



 1    delay, wasting time, or needlessly presenting cumulative evidence.”

 2    Fed. R. Evid. 403.     The proponent of evidence always bears the burden

 3    of establishing the threshold admissibility of that evidence,

 4    including its relevance.      See Dowling v. United States, 493 U.S. 342,

 5    351 n.3 (1990); United States v. Chang, 207 F.3d 1169, 1176 (9th Cir.

 6    2000); United States v. Conners, 825 F.2d 1384, 1390 (9th Cir. 1987).

 7    A district court has “wide discretion” to exclude irrelevant

 8    evidence.    United States v. Alvarez, 358 F.3d 1194, 1205 (9th Cir.

 9    2004); see also Borunda v. Richmond, 885 F.2d 1384, 1388 (9th Cir.

10    1988) (holding that a district court’s discretion under Rule 403 is
11    “very broad,” and, “absent abuse . . . will not be disturbed on
12    appeal” (internal quotation omitted)).
13          Although a criminal defendant is guaranteed “a meaningful
14    opportunity to present a complete defense,” “well-established rules
15    of evidence” such as Rules 401 and 403 allow trial judges to exclude
16    irrelevant evidence or “to exclude evidence if its probative value is
17    outweighed by certain other factors such as unfair prejudice,
18    confusion of the issues, or potential to mislead the jury.”            Holmes
19    v. South Carolina, 547 U.S. 319, 324 (2006).          Such relevance rules

20    are “familiar and unquestionably constitutional.”           Id. at 327

21    (quoting Montana v. Egelhoff, 518 U.S. 37, 42 (1996)).

22          One of the primary purposes of a motion in limine, as approved

23    by the Ninth Circuit, is to limit in advance of a jury trial

24    testimony and evidence relating to specific areas and topics to “give

25    counsel advance notice of the scope of certain evidence so that

26    admissibility is settled before attempted use of the evidence before

27    the jury.”    United States v. Heller, 551 F.3d 1108, 1111-12 (9th Cir.

28    2009).   The current motion properly permits the Court to rule in

                                              7
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 10 of 16 Page ID #:19222



 1    advance to avoid having objectionable and prejudicial information

 2    come up before the jury that has no place in the trial.

 3          C.     The Court Should Exclude Questions, Evidence, and Argument
                   Regarding Andrew Stolper Under FRE 401, 402, and 403
 4

 5          In defendant’s opposition to the government’s previously filed

 6    motion in limine to exclude the underlying facts of the civil

 7    matters, defendant stated, “the critical issues in this case[]

 8    includ[e] whether [defendant] made materially false representations

 9    or omitted material facts from his clients, unlawfully

10    misappropriated monies from the clients, acted with intent to defraud

11    and cheat, or instead acted in good faith, believed he was entitled

12    to the monies, and whether he was in fact entitled to the monies.”

13    (CR 501 at 6.)     None of those issues relate in the slightest to Mr.

14    Stolper.    Indeed, Mr. Stolper had nothing to do with the matters

15    involving Geoffrey Johnson, Alexis Gardner, Gregory Barela, Michelle
16    Phan, and Long Tran.      The subject areas defendant attempted to elicit
17    in the first trial regarding Mr. Stolper have no bearing on what both
18    parties in this case agree are the critical issues for the jury to
19    decide.    Defendant’s attempts to insert facts about Mr. Stolper, the

20    Broadcom case, and his friendship with a prosecutor amount to thinly

21    veiled attempts to insert irrelevant attacks upon the ethics of

22    prosecutors and pleas for jury nullification, which have no place in

23    the trial.

24          In the first trial, defendant provided no plausible connection

25    between the many questions he asked related to Mr. Stolper and

26    whether defendant lied to his clients and embezzled money belonging

27    to them, and it is defendant’s burden to do so as the proponent of

28    the evidence.     And for the questions in which defendant attempted to

                                               8
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 11 of 16 Page ID #:19223



 1    assert a basis for relevancy, the facts he asserted are either

 2    unsupported by any evidence and/or are demonstrably false.             If

 3    defendant does not provide the Court with a basis for which his

 4    questions related to Andrew Stolper are relevant, the Court should

 5    exclude any arguments or questions as irrelevant under Rules 401 and

 6    402.

 7           Even if defendant could articulate some plausible reason to ask

 8    questions relating to Mr. Stolper, the Court still has discretion to

 9    exclude such evidence if the probative value of the evidence is

10    “substantially outweighed by the danger of prejudice, confusion of

11    the issues, or misleading the jury, or by considerations of undue

12    delay, waste of time, or needless presentation of cumulative

13    evidence.”    Fed. R. Evid. 403; see also United States v. Espinoza-

14    Baza, 647 F.3d 1182, 1189 (9th Cir. 2011) (“Where the evidence is of
15    very slight (if any) probative value, even a modest likelihood of
16    unfair prejudice or a small risk of misleading the jury will justify
17    excluding that evidence.” (quotation marks and alterations omitted)).
18           The danger of unfair prejudice, confusing the issues, misleading
19    the jury, undue delay, and wasting time is obvious from defendant’s

20    attempt to ask the questions regarding Mr. Stolper and to allow

21    defendant to do so again will invite a “mini-trial” on completely

22    irrelevant issues.      See United States v. Singh, 995 F.3d 1069 (9th

23    Cir. May 3, 2021) (finding no abuse of discretion in district court

24    excluding evidence pursuant to Federal Rule of Evidence 403 where the

25    probative value “was substantially outweighed by the danger of

26    confusing the issues before the jury and wasting time with a mini

27    trial”); United States v. Waters, 627 F.3d 345, 353 (9th Cir. 2010)

28    (excluding defense evidence under Rule 403 where it “ran the risk of

                                               9
     Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 12 of 16 Page ID #:19224



 1    creating a mini-trial” regarding defense evidence that was of “quite

 2    low” probative value).

 3          Defendant has asserted at various times that the government has

 4    engaged in misconduct by pursuing this case at Mr. Stolper’s

 5    direction and/or having a conflict of interest by pursuing this case.

 6    In addition to the allegations being baseless -- which is why

 7    defendant has never actually filed a motion on these frivolous claims

 8    in two and half years -- these would be legal matters for the Court

 9    to decide and not a factual matter to be tried to the jury.             These

10    “issues” are not relevant or probative to the jury’s task of

11    determining whether defendant unlawfully misappropriated the

12    settlement funds, made materially false representations or omitted

13    material facts from his clients, and acted with intent to defraud.

14          This case is about whether defendant stole his clients’ money,

15    and Mr. Stolper has nothing to do that.         As such, the asking of

16    questions, even if sustained, that attempt to place before the jury

17    that an entirely separate case involving a former prosecutor was

18    dismissed for government misconduct and the prosecutor purportedly

19    has a friendship with one of the government prosecutors would only

20    serve to waste time, confuse and mislead the jurors, and attempt to

21    prejudice the government.       The Court has the discretion to, and

22    should, exclude any questions or evidence relating to Mr. Stolper

23    pursuant to Rule 403.      See Espinoza-Baza, 647 F.3d at 1189.

24    III. CONCLUSION

25          For the foregoing reasons, the government respectfully requests

26    that the Court exclude questions, evidence and arguments about Andrew

27    Stolper pursuant to Federal Rules of Evidence 401, 402, and/or 403.

28

                                              10
Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 13 of 16 Page ID #:19225




                        EXHIBIT 1
Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 14 of 16 Page ID #:19226




                                                              USAO_01144236
Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 15 of 16 Page ID #:19227




                                                              USAO_01144237
Case 8:19-cr-00061-JVS Document 832 Filed 09/29/21 Page 16 of 16 Page ID #:19228




                                                              USAO_01144238
